Order entered August 16, 2016




                                          In The
                               Court of Appeals
                        Fifth District of Texas at Dallas
                                   No. 05-16-00521-CV

                            JEFFREY AGULEFO, Appellant

                                            V.

                           BANK OF AMERICA, NA, Appellee

                     On Appeal from the 86th Judicial District Court
                                Kaufman County, Texas
                           Trial Court Cause No. 92509-86

                                        ORDER
       We GRANT appellant’s second motion to extend time to file appellant’s brief.

Appellant’s brief shall be filed on or before SEPTEMBER 15, 2016.



                                                   /s/   ELIZABETH LANG-MIERS
                                                         CHIEF JUSTICE




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